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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND



 STATE OF MARYLAND; STATE OF
 DELAWARE; STATE OF CALIFORNIA; STATE
 OF COLORADO; STATE OF ARIZONA; STATE
 OF CONNECTICUT; DISTRICT OF COLUMBIA,
 STATE OF HAWAI‘I; STATE OF ILLINOIS;
 OFFICE OF THE GOVERNOR ex rel. Andy                     Civ. No. 25-cv-01363 (DLB)
 Beshear, in his official capacity as Governor of the
 COMMONWEALTH OF KENTUCKY; STATE OF
 MAINE; COMMONWEALTH OF
 MASSACHUSETTS; PEOPLE OF THE STATE OF
 MICHIGAN; STATE OF MINNESOTA; STATE OF
 NEVADA; STATE OF NEW JERSEY; STATE OF
 NEW MEXICO; STATE OF NEW YORK; STATE
 OF NORTH CAROLINA; STATE OF OREGON;
 JOSH SHAPIRO, in his official capacity as
 Governor of the COMMONWEALTH OF
 PENNSYLVANIA; STATE OF RHODE ISLAND;
 STATE OF VERMONT; STATE OF
 WASHINGTON; STATE OF WISCONSIN;

                Plaintiffs,

        v.

 CORPORATION FOR NATIONAL AND
 COMMUNITY SERVICE, operating as
 AmeriCorps; and JENNIFER BASTRESS
 TAHMASEBI, in her official capacity as Interim
 Head of the Corporation for National and
 Community Service;

                Defendants.


                           PLAINTIFF STATES’ MOTION FOR A
                 5 U.S.C. § 705 STAY AND PRELIMINARY INJUNCTION

       For reasons explained in greater detail in the accompanying memorandum of law,

Plaintiff States move for an order entering a stay under section 705 of the Administrative

Procedure Act (APA), 5 U.S.C. § 705, and a preliminary injunction against all Defendants,

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   1. Vacating Defendants’ acts, omissions, or both, directing, providing for, intended to

       accomplish, or effectuating the dismantling of AmeriCorps, specifically:

              a. Vacating, with respect to all NCCC members assigned to placements in Plaintiff

                  States, Defendants’ acts undertaken on or around April 15, 2025, to release all

                  NCCC members from the AmeriCorps program effective April 30, 2025;

              b. Vacating, throughout the United States, Defendants’ acts undertaken on or

                  around April 15, 2025, to place approximately 85% of AmeriCorps staff on

                  administrative leave;

              c. Vacating, throughout the United States, Defendants’ acts undertaken on or

                  around April 24, 2025, to institute a reduction in force for AmeriCorps staff;

              d. Vacating, with respect to programs located in Plaintiff States, Defendants’ acts

                  undertaken on or around April 25, 2025, to terminate approximately 1,031

                  AmeriCorps programs and associated funding;

   2. Enjoining, pending further order of the Court, Defendants, their agents, and anyone acting

       at Defendants’ direction, from reissuing, adopting, implementing, giving effect to, or

       reinstating under a different name or means any of the foregoing acts; and

   3. Requiring Defendants to file, within one week of entry of this order, a Status Report

       documenting the actions that they have taken to comply with the Court’s order.



Dated: May 6, 2025                                            Respectfully submitted,

 ANTHONY G. BROWN                                   KATHLEEN JENNINGS
 ATTORNEY GENERAL OF MARYLAND                       ATTORNEY GENERAL OF DELAWARE

 By: /s/ Keith M. Jamieson                          By: /s/ Ian R. Liston

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Keith M. Jamieson (D. Md. Bar. No. 31543)         Ian R. Liston*
Virginia Williamson (D. Md. Bar. No. 31472)         Director of Impact Litigation
  Assistant Attorneys General                     Vanessa L. Kassab*
Federal Accountability Unit                         Deputy Attorney General
Office of the Attorney General                    Delaware Department of Justice
200 Saint Paul Place                              820 N. French Street
Baltimore, Maryland 21202                         Wilmington, DE 19801
(410) 576-6960                                    (302) 683-8899
kjamieson@oag.state.md.us                         Ian.Liston@delaware.gov

Counsel for the State of Maryland                 Counsel for the State of Delaware

ROB BONTA                                         PHILIP J. WEISER
ATTORNEY GENERAL OF CALIFORNIA                    ATTORNEY GENERAL OF COLORADO

By: /s/ Ezra Kautz                                By: /s/ Kyle M. Holter
Ezra Kautz*                                       David Moskowitz*
  Deputy Attorney General                           Deputy Solicitor General
Joel Marrero*                                     Sarah H. Weiss*
William H. Downer*                                  Senior Assistant Attorney General
  Supervising Deputy Attorneys General            Kyle M. Holter*
Brian Bilford*                                    Sam Wolter*
  Deputy Attorney General                           Assistant Attorneys General
Michael L. Newman*                                Colorado Office of the Attorney General
  Senior Assistant Attorney General               1300 Broadway, #10
California Department of Justice                  Denver, CO 80203
1300 I Street                                     (720) 508-6000
Sacramento, CA 95814                              david.moskowitz@coag.gov
(916) 210-6346                                    sarah.weiss@coag.gov
Joel.Marrero@doj.ca.gov                           kyle.holter@coag.gov
William.Downer@doj.ca.gov                         samuel.wolter@coag.gov
Ezra.Kautz@doj.ca.gov
Brian.Bilford@doj.ca.gov                          Counsel for the State of Colorado
Michael.Newman@doj.ca.gov

Counsel for the State of California

KRISTIN K. MAYES                                  WILLIAM TONG
ATTORNEY GENERAL OF ARIZONA                       ATTORNEY GENERAL OF CONNECTICUT

By /s/ Joshua A. Katz                             By: /s/ Andrew Ammirati
Joshua A. Katz*                                   Andrew Ammirati*
  Assistant Attorney General                       Assistant Attorney General
Office of the Arizona Attorney General            Connecticut Office of the Attorney General

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2005 N. Central Ave.                                  165 Capitol Ave
Phoenix, Arizona 85004                                Hartford, CT 06106
(602) 542-3333                                        (860) 808-5090
Joshua.Katz@azag.gov                                  Andrew.Ammirati@ct.gov

Counsel for the State of Arizona                      Counsel for the State of Connecticut

BRIAN L. SCHWALB                                      ANNE E. LOPEZ
ATTORNEY GENERAL FOR THE DISTRICT OF                  ATTORNEY GENERAL OF HAWAIʻI
 COLUMBIA
                                                      By: /s/ Kalikoʻonālani D. Fernandes
By: /s/ Andrew C. Mendrala                            David D. Day*
Andrew C. Mendrala*                                     Special Assistant to the Attorney General
  Assistant Attorney General                          Kalikoʻonālani D. Fernandes*
Public Advocacy Division                                Solicitor General
Office of the Attorney General for the District       Hawai‘i Department of the Attorney General
  of Columbia                                         425 Queen Street
400 Sixth Street, NW                                  Honolulu, HI 96813
Washington, D.C. 20001                                (808) 586-1360
(202) 724-9726                                        david.d.day@hawaii.gov
Andrew.mendrala@dc.gov                                kaliko.d.fernandes@hawaii.gov

Counsel for the District of Columbia                  Counsel for the State of Hawai‘i

KWAME RAOUL                                           OFFICE OF THE GOVERNOR ex rel.
ATTORNEY GENERAL OF ILLINOIS                          ANDY BESHEAR
                                                      IN HIS OFFICIAL CAPACITY AS GOVERNOR OF
By: /s/ Abigail R. Durkin                             THE COMMONWEALTH OF KENTUCKY
Abigail R. Durkin*
  Assistant Attorney General II, Special              By: /s/ S. Travis Mayo
 Litigation Bureau                                    S. Travis Mayo*
Cara Hendrickson*                                       General Counsel
  Assistant Chief Deputy Attorney General             Taylor Payne*
Office of the Illinois Attorney General                 Chief Deputy General Counsel
115 South LaSalle Street                              Laura C. Tipton*
Chicago, IL 60603                                       Deputy General Counsel
Tel. (312) 814-3000                                   Office of the Governor
Abigail.Durkin@ilag.gov                               700 Capitol Avenue, Suite 106
Cara.Hendrickson@ilag.gov                             Frankfort, KY 40601
                                                      (502) 564-2611
Counsel for the State of Illinois                     travis.mayo@ky.gov
                                                      taylor.payne@ky.gov
                                                      laurac.tipton@ky.gov


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                                                  Counsel for the Office of the Governor

AARON M. FREY                                     ANDREA JOY CAMPBELL
ATTORNEY GENERAL OF MAINE                         ATTORNEY GENERAL OF MASSACHUSETTS

By: /s/ Sarah A. Forster                          By: /s/ Katherine Dirks
Sarah A. Forster*                                 Katherine Dirks*
  Assistant Attorney General                        Chief State Trial Counsel
Office of the Attorney General                    Jonathan Green*
6 State House Station                               Division Chief
Augusta, ME 04333-0006                            Veronica Zhang*
Tel.: (207) 626-8800
                                                    Assistant Attorney General
Fax: (207) 287-3145
                                                    Non-Profit Organizations / Public Charities
Sarah.Forster@maine.gov
                                                  Massachusetts Office of the Attorney General
                                                  1 Ashburton Pl. Boston, MA 02108
Counsel for the State of Maine
                                                  (617) 963-2277
                                                  katherine.dirks@mass.gov

                                                  Counsel for the Commonwealth of
                                                  Massachusetts

DANA NESSEL                                       KEITH ELLISON
ATTORNEY GENERAL OF MICHIGAN                      ATTORNEY GENERAL OF MINNESOTA

By: /s/ Neil Giovanatti                           By: /s/ Liz Kramer
Neil Giovanatti*                                  Liz Kramer*
Alexus Ringstad*                                    Solicitor General
  Assistant Attorneys General                     Minnesota Attorney General’s Office
Michigan Department of Attorney General           445 Minnesota Street, Suite 1400
525 W. Ottawa                                     St. Paul, Minnesota, 55101
Lansing, MI 48909                                 (651) 757-1010
(517) 335-7603                                    Liz.Kramer@ag.state.mn.us
GiovanattiN@michigan.gov
RingstadA@michigan.gov                            Counsel for the State of Minnesota

Counsel for the People of the State of
Michigan

AARON D. FORD                                     MATTHEW J. PLATKIN
ATTORNEY GENERAL OF NEVADA                        ATTORNEY GENERAL OF NEW JERSEY

By: /s/ Heidi Parry Stern                         /s/ Jessica L. Palmer
Heidi Parry Stern*                                Jessica L. Palmer*


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 Solicitor General                               Lauren E. Van Driesen*
Office of the Nevada Attorney General              Deputy Attorneys General
555 E. Washington Ave., Ste. 3900                Office of the Attorney General
Las Vegas, NV 89101                              124 Halsey Street, 5th Floor
HStern@ag.nv.gov                                 Newark, NJ 07101
                                                 (609) 696-4607
Counsel for the State of Nevada                  Jessica.Palmer@law.njoag.gov

                                                 Counsel for the State of New Jersey

RAÚL TORREZ                                      LETITIA JAMES
ATTORNEY GENERAL OF NEW MEXICO                   ATTORNEY GENERAL OF NEW YORK

By: /s/ James W. Grayson                         By: /s/ Jessica Ranucci
James W. Grayson*                                Jessica Ranucci*
  Chief Deputy Attorney General                    Special Counsel, Federal Initiatives
New Mexico Department of Justice                 Rabia Muqaddam*
P.O. Drawer 1508                                   Special Counsel for Federal Initiatives
Santa Fe, NM 87504-1508                          Office of the Attorney General
(505) 490-4060                                   28 Liberty St.
jgrayson@nmdoj.gov                               New York, NY 10005
                                                 (929) 638-0447
Counsel for the State of New Mexico              Jessica.ranucci@ag.ny.gov
                                                 rabia.muqaddam@ag.ny.gov

                                                 Counsel for the State of New York

JEFF JACKSON                                     DAN RAYFIELD
ATTORNEY GENERAL OF NORTH CAROLINA               ATTORNEY GENERAL OF OREGON

LAURA HOWARD                                     By: /s Sadie Forzley
CHIEF DEPUTY ATTORNEY GENERAL                    Sadie Forzley*
                                                   Senior Assistant Attorney General
By /s/ Daniel P. Mosteller                       Oregon Department of Justice
Daniel P. Mosteller*                             100 SW Market Street
 Associate Deputy Attorney General               Portland, OR 97201
North Carolina Department of Justice             (971) 673-1880
PO Box 629                                       sadie.forzley@doj.oregon.gov
Raleigh, NC 27602
(919) 716-6026                                   Counsel for the State of Oregon
dmosteller@ncdoj.gov

Counsel for the State of North Carolina

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JOSH SHAPIRO                                    PETER F. NERONHA
IN HIS OFFICIAL CAPACITY AS GOVERNOR OF         ATTORNEY GENERAL OF RHODE ISLAND
THE COMMONWEALTH OF PENNSYLVANIA
                                                By: /s/ Kyla Duffy
By: /s/ Kenneth L. Joel                         Kyla Duffy*
Kenneth L. Joel*                                  Special Assistant Attorney General
  Deputy General Counsel                        Rhode Island Attorney General’s Office
Benjamin Holt*                                  150 South Main Street
  Chief Counsel                                 Providence, RI 02903
  Pennsylvania Department of Labor              (401) 274-4400, Ext. 2809
Melissa Murphy*                                 kduffy@riag.ri.gov
  Senior Counsel
  Pennsylvania Department of Labor              Counsel for the State of Rhode Island
Governor’s Office of General Counsel
30 N. 3rd St., Suite 200
Harrisburg, PA 17101
(717) 649-8669
kennjoel@pa.gov

Counsel for Governor Josh Shapiro

CHARITY R. CLARK                                NICHOLAS W. BROWN
ATTORNEY GENERAL OF VERMONT                     ATTORNEY GENERAL OF WASHINGTON

By: /s/ Jonathan T. Rose                        By: /s/ Abby Kahl
Jonathan T. Rose*                               Abigail Kahl*
  Solicitor General                             Andrew R.W. Hughes*
Office of the Vermont Attorney General           Assistant Attorneys General
109 State Street                                Office of the Attorney General
Montpelier, VT 05609                            2425 Bristol Court SW
(802) 828-3171                                  Second Floor
Jonathan.rose@vermont.gov                       PO Box 40117
                                                Olympia, WA 98504
Counsel for the State of Vermont                360-534-4864
                                                Abigail.Kahl@atg.wa.gov
                                                Andrew.Hughes@atg.wa.gov

                                                Counsel for the State of Washington

JOSHUA L. KAUL
ATTORNEY GENERAL OF WISCONSIN



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By: /s/ Charlotte Gibson
Charlotte Gibson*
  Assistant Attorney General
Wisconsin Department of Justice
P.O. Box 7857
Madison, WI 53707
(608) 957-5218 (phone)
(608) 294-2907 (fax)

Counsel for the State of Wisconsin

                      * Motion for admission pro hac vice forthcoming




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                                 CERTIFICATE OF SERVICE

       I certify that on May 6, 2025, I electronically filed the foregoing document and its

attachments via CM/ECF and thereby served all parties who have appeared through counsel on

the Court’s electronic docket.

       For Plaintiff States whose counsel’s motions for admission pro hac vice are forthcoming,

I served the foregoing document and its attachments via email to those counsel.



                                                   Respectfully submitted,

                                                   /s/ Keith M. Jamieson
                                                   Keith M. Jamieson (D. Md. Bar. No. 31543)
                                                     Assistant Attorney General
                                                   Federal Accountability Unit
                                                   Office of the Attorney General
                                                   200 Saint Paul Place
                                                   Baltimore, Maryland 21202
                                                   (410) 576-6960
                                                   kjamieson@oag.state.md.us
